                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION



J. DUANE GILLIAM, Guardian of the Estate of Leon
Brown, RAYMOND C. TARLTON, Guardian Ad Litem
for HENRY LEE MCCOLLUM, and KIMBERLY
PINCHBECK, Limited Guardian and Conservator of the      CONSENT ORDER
Estate of Henry Lee McColl um,                          APPROVING SETTLEMENT
                                                        WITH SUPPLEMENTAL
                      Plaintiffs,                       DEFENDANT GENERAL STAR
                                                        NATIONAL INSURANCE
        V.                                              COMPANY

ROBESON COUNTY, TOWN OF RED SPRINGS,                    Case No. 5:15-CV-00451-BO
KENNETH SEALEY, both Individually and in his
Official Capacity as the Sheriff of Robeson County,
LARRY FLOYD, LEROY ALLEN, PAUL CANADAY,
Administrator C.T.A. of the Estate of Luther Haggins,
ROBERT PRICE, Administrator C.T.A. of the Estate of
Joel Garth Locklear, Sr., CHARLOTTE NOEL FOX,
Administrator of the Estate of Kenneth Snead,

                     Defendants,

                     and

JEFFERSON INSURANCE COMPANY, NATIONAL
CASUALTY COMPANY, GENERAL STAR
NATIONAL INSURANCE COMP ANY, CLARENDON
NATIONAL INSURANCE COMPANY, and
LEXINGTON INSURANCE COMPANY,

                     Supplemental Defendants.




       Case 5:15-cv-00451-BO Document 611 Filed 09/06/24 Page 1 of 4
         Pursuant to Local Civil Rule 17 .1 (b ), Plaintiffs Henry Lee McColl um ("McColl um") and

Leon Brown ("Brown") (collectively, "Plaintiffs"), through their guardians and undersigned

counsel, moved this Court for a Consent Order for Approval of Settlement with Supplemental

Defendant General Star National Insurance Company ("General Star"), with the consent of the

parties to the proposed settlement agreement.

         NOW, upon the Consent Motion of Plaintiffs, the Court finds as follows:

         1.     Plaintiff Brown was adjudicated incompetent by the Cumberland County Superior

Court, State of North Carolina, on September 1, 2015 and was subsequently assigned J. Duane

Gilliam as Guardian of his Estate.

         2.     Raymond Tarlton was appointed as Guardian Ad Litem for PlaintiffMcCollum on

May 10, 2017. DE 204.

         3.     The Court added Kimberly Pinchbeck, as Limited Guardian and Conservator of the

Estate of PlaintiffMcCollum, as a party to this action on April 26, 2018. DE 283.

         4.     Plaintiffs are represented and are properly before this Court.

         5.     Supplemental Defendant General Star is represented and is properly before this

Court.

         6.     The Court has jurisdiction over the subject matter and all parties to the settlement

agreement.

         7.     Plaintiffs have asserted a claim against General Star for payment ofa portion of the

Final Judgment (DE 483) in this case.

         8.     Plaintiffs' undersigned counsel conferred with and explained the terms of the

proposed settlement to Plaintiffs ' guardians, who find that such terms are fair and reasonable and

consent to the settlement on behalf of Plaintiffs.




     Case 5:15-cv-00451-BO Document 611 Filed 09/06/24 Page 2 of 4
        9.        The terms of the settlement, set out in full in the written settlement agreement [DE

590] (the "Proposed Settlement Agreement"), include the following:

               a. Within thirty (30) days after execution by the parties of the Proposed Settlement

                  Agreement and after the provision of the necessary payment information, General

                  Star will pay the agreed amount to Plaintiffs;

               b. Plaintiffs will, upon (i) execution by the parties of the Proposed Settlement

                  Agreement, (ii) approval of the Proposed Settlement Agreement by an order from

                  a court of competent jurisdiction, and (iii) Plaintiffs' receipt of the full payment due

                  from General Star under the Proposed Settlement Agreement, release General Star

                  from further claims for payment of the Final Judgment; and

               c. After the Proposed Settlement Agreement becomes effective, the parties will file in

                  court all documents needed to dismiss with prejudice all causes of action each has

                  asserted against the other in (i) this case and (ii) Lexington Insurance Company, et

                  al. v. State of North Carolina, et al., Case No. 22-CVS-000646-910, in Wake

                  County Superior Court.

        10.       Given the uncertainty of any recovery, the possibility of no recovery, and the time

it would take to recover, the settlement is a fair and reasonable resolution of the disputes between

the parties.

        11.       The services rendered by Plaintiffs' attorneys have been extensive, both before and

after verdict and include 500 hours before verdict and more than 120 hours after verdict, by

attorney Elliot S. Abrams of Cheshire Parker Schneider, PLLC. The legal fee to be paid out of

this settlement is $52,000 to Cheshire Parker Schneider, PLLC, which amount is fair and

reasonable in light of the work performed, the novelty and difficulty of the questions presented,



                                                     2



      Case 5:15-cv-00451-BO Document 611 Filed 09/06/24 Page 3 of 4
the skill required to perform the necessary legal services, the preclusion of other employment by

the lawyer due to acceptance of the case, the customary fee for similar work, the contingency of

the fee, the time pressures imposed in the case, the award involved and the results obtained, the

experience, reputation, and ability of the lawyer, the nature and length of the professional

relationship between the lawyer and the client, and the fee awards made in similar cases. The

guardians each approve and request court approval of this legal fee.

       NOW, UPON THE FOREGOING, IT IS HEREBY ORDERED:

       The proposed settlement between Plaintiffs McCollum and Brown, through their

guardians, and Supplemental Defendant General Star, through its counsel, [DE 590] is hereby

APPROVED, and the proposed attorney fee is hereby APPROVED.

       SO ORDERED this the .j day o f ¥ , 2024.




                                                            :zic~A'ft
                                                            United States District Court




                                                3


     Case 5:15-cv-00451-BO Document 611 Filed 09/06/24 Page 4 of 4
